                     Case 1:10-cr-00106-JTN
     AO 472 Order of Detention Pending Trial
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                           WESTERN DISTRICT OF MICHIGAN
     UNITED STATES OF AMERICA             ORDER OF DETENTION
             V.                           PENDING TRIAL
     CARLOS LOPEZ ISAAC                                                                        Case Number:         1:10-CR-106

            In accordance with the Bail Reform Act, 18 U.S.C.§3142(f), a detention hearing has been held. I conclude that the following facts
     require the detention of the defendant pending trial in this case.
                                                                   Part I - Findings of Fact
              (1)     The defendant is charged with an offense described in 18 U.S.C. §3142(f)(1) and has been convicted of a (federal
                      offense) (state or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had
                      existed) that is
                            a crime of violence as defined in 18 U.S.C.§3156(a)(4).
                            an offense for which the maximum sentence is life imprisonment or death.
                            an offense for which the maximum term of imprisonment of ten years or more is prescribed in

                              a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                              U.S.C.§3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2)      The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
                      offense.
             (3)      A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
                      the offense described in finding (1).
             (4)      Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
                      assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this
                      presumption.
                                                                     Alternate Findings (A)
     ✘       (1)      There is probable cause to believe that the defendant has committed an offense
                      ✘     for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 801 et seq
                            under 18 U.S.C.§924(c).
     ✘       (2)      The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
                      reasonably assure the appearance of the defendant as required and the safety of the community.
                                                                     Alternate Findings (B)
             (1)      There is a serious risk that the defendant will not appear.
     ✘       (2)      There is a serious risk that the defendant will endanger the safety of another person or the community.
                     Defendant is charged with conspiring to deliver 50 kilograms of marijuana. Defendant states he has never used nor
                     experimented with any illicit substances, other than experimenting with marijuana on a single occasion 38 years ago.
                     (Defendant also stated, however, that he participated in a three-month outpatient substance-abuse treatment program in
                     Cedar Rapids, Iowa.)

                     Defendant has compiled a lengthy criminal record in his 54 years. He currently has an (continued on attachment)
                                           Part II - Written Statement of Reasons for Detention
I find that the credible testimony and information submitted at the hearing establishes by clear and convincing evidence that
   there is no condition or combination of conditions that will assure the safety of the community based upon the unrebutted
   presumption. Alternatively, the government has also shown by clear and convincing evidence that there is no condition or
   combination of conditions that will assure the safety of the defendant based on his lengthy criminal record which contains
   many offenses which were committed when he was under the supervision of court in similar (continued on attachment)
                                                      Part III - Directions Regarding Detention
       The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
  facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
  defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United States
  or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the United
  States marshal for the purpose of an appearance in connection with a court proceeding.


    Dated:         May 28, 2010                                                                 /s/ Hugh W. Brenneman, Jr.
                                                                                                                        Signature of Judicial Officer
                                                                                              Hugh W. Brenneman, United States Magistrate Judge
                                                                                                                     Name and Title of Judicial Officer

          *Insert as applicable: (a) Controlled Substances Act (21 U.S.C. §801 et seq. ); (b) Controlled Substances Import and Export Act (21 U.S.C. §951 et seq. ); or
    (c) Sectlon 1 of Act of Sept. 15, 1980 (21 U.S.C. §955a).
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Alternate Findings (B) - (continued)

outstanding warrant from Iowa for failing to register as a sex offender. He has served four prison terms. He has
committed the following offenses, while on probation or parole for other offenses: domestic abuse assault (twice);
operating while intoxicated; sex abuse third; driving while license suspended; assault with a weapon on a peace officer;
and driving while barred. Defendant has a number of other offenses involving drinking, drugs and assaultive behavior
that were committed while he was not on probation or parole.

Defendant appears to have no ties with this district, other than a maternal half brother who resides in Lansing and is a
co-defendant. Defendant's employment history is spotty.




Part II - Written Statement of Reasons for Detention - (continued)

circumstances (i.e., probation or parole).
